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      ORDERED in the Southern District of Florida on October 25, 2018.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




_____________________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

       In re:                                          Case No.: 18-14821-LMI

       WILL ZAMORA,                                    Chapter 13

                 Debtor.
                                                   /

                ORDER ON EMERGENCY EX-PARTE MOTION TO REINSTATE CASE
                        AND VACATION OF ORDER DISMISSING CASE

            THIS MATTER came before the Court on the Creditor Timothy Mosley’s Emergency Ex-

     Parte Motion to Reinstate Case (the “Motion”) (ECF 73) and the Court, having reviewed the Motion

     and the record,

            ORDERS as follows:

            1.         The Order Dismissing Case with 180 Days Prejudice (ECF 72) is VACATED, as
      it was entered in an apparent administrative error. This case was converted to Chapter 7 on
                                                       1
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October 4, 2018 and the Debtor’s Section 341 Meeting of Creditors has been scheduled for
November 6, 2018 pursuant to the Order Converting Case to Chapter 7 (the “Conversion
Order”) (ECF 59).

        2.      All dates and deadlines previously scheduled by the Conversion Order shall
remain unchanged and the case will proceed accordingly.

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Copies to:
G. Steven Fender, Esq.
        Attorney Fender is instructed to serve copies of this Order on all parties in interest and to file a
certificate of service with the Clerk of Court.




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